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EXHIBIT C
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1                  IN THE UNITED STATES DISTRICT COURT                   1                                INDEX TO WITNESSES
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
2                                                                        2    FOR - PLAINTIFF               DIRECT CROSS REDIRECT RECROSS
     ANTHONY BARASKY,                   :
3                 Plaintiff                                              3    Joshua K. Bell                    3           --        --       --
                                        :
4                                                                        4
          vs.                           :
5                                                                        5
                                        :
6    KEVIN DENT, TYSON HAVENS,              CASE NO. 4:21-CV-02041       6
     JOSHUA BELL, CLINTON               :
7    GARDNER, CHRISTOPHER                                                7
     KRINER, JOSEPH HOPE,               :
8    LYCOMING COUNTY, OLD                                                8
     LYCOMING TOWNSHIP; and             :
9    CITY OF WILLIAMSPORT,                                               9
                     Defendants         :
10                                                                       10

11                                                                       11

12                                                                       12

13              Deposition of:       JOSHUA K. BELL                      13                                 INDEX TO EXHIBITS
14              Taken by         :   Plaintiff                           14   FOR - PLAINTIFF                                        MARKED ADMITTED
15              Before           :   Ervin S. Blank                      15   Plaintiff's Exhibit No. 1                               48      --
                                     Reporter-Notary Public
16                                                                       16   Plaintiff's Exhibit No. 2                               60      --
                Beginning        :   March 21, 2024; 11:44 a.m.
17                                                                       17
                Place            :   McCormick Law Firm
18                                   835 West Fourth Street              18
                                     Williamsport, Pennsylvania
19                                                                       19

20                                                                       20

21                                                                       21

22   COUNSEL PRESENT:                                                    22

23       LEONARD GRYSKEWICZ, JR., ESQUIRE                                23
         Lampman Law
24       2 Public Square                                                 24
         Wilkes-Barre, Pennsylvania 18701
25            For - Plaintiff                                            25


                                                                     2                                                                                 4
1    COUNSEL PRESENT: (CONTINUED)                                        1

2        AUSTIN WHITE, ESQUIRE                                           2                                     STIPULATION
         McCormick Law Firm
3        835 West Fourth Street                                          3                It is hereby stipulated by and between
         Williamsport, Pennsylvania 17701
4              For - Defendants Kevin Dent and Tyson Havens              4    counsel for the respective parties that signing,
5        SHAWNA R. LAUGHLIN, ESQUIRE                                     5    sealing, certification and filing are hereby waived;
         William J. Ferren & Associates
6        P.O. Box 2903                                                   6    and that all objections except as to the form of the
         Hartford, Connecticut 06104-2903
7              For - Defendants Joshua Bell, Clinton Gardner             7    question are reserved to the time of trial.
                  and City of Williamsport
8                                                                        8
         MARK J. KOZLOWSKI, ESQUIRE
9        Marshall Dennehey                                               9                                          *   *        *
         P.O. Box 3118
10       Moosic, Pennsylvania 18507                                      10
              For - Defendants Old Lycoming Township,
11                Joseph Hope and Christopher Kriner                     11               JOSHUA K. BELL, called as a witness, having
12                                                                       12   been duly sworn or affirmed, testified as follows:
13                                                                       13                               DIRECT EXAMINATION
14                                                                       14   BY MR. GRYSKEWICZ:
15                                                                       15         Q     Captain Bell, have you ever been deposed
16                                                                       16   before?
17                                                                       17         A     Yes.
18                                                                       18         Q     I'm going to give you some brief
19                                                                       19   instructions. I'm sure your attorney probably already
20                                                                       20   told you some of these, but if you don't understand a
21                                                                       21   question I ask, tell me, I'll rephrase it. If the
22                                                                       22   answer is I don't know or I don't remember, that's
23                                                                       23   also a fine answer. I don't want you to speculate.
24                                                                       24   If at any time you need a break, something comes up,
25                                                                       25   just let us know and --


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1         A     Okay.                                              1          A       For the promotion, correct.
2         Q     -- we can take a break. I will let you fully       2          Q       So -- and I know many of the things that
3    answer my questions and not interrupt you. I'd ask            3    occurred in this case were October 2nd, 2020. Were
4    you to provide me with the same courtesy and --               4    you still a member of the NEU then or, no, you're
5         A     Okay.                                              5    assignment was over?
6         Q     -- that's it. Do you have any questions?           6          A       It might have my -- I might have my dates
7         A     No. Nope.                                          7    wrong then. I was still -- at the time of this
8         Q     Could you state and spell your name for the        8    incident --
9    record?                                                       9          Q       Um-hum.
10        A     Yes. My name is Joshua K. Bell.                    10         A       -- that we're here for, I would have been at
11   J-O-S-H-U-A. The last name is B-E-L-L.                        11   the NEU.
12        Q     Where are you currently employed?                  12         Q       Okay. So maybe I had it wrong.
13        A     Williamsport City Police.                          13         A       It might have been 2021.
14        Q     How old are you today?                             14         Q       Okay. So maybe I had it wrong from your
15        A     I am 42.                                           15   resume. You might have been done with them in June,
16        Q     How were you employed in October of 2020?          16   '21 instead of '20?
17        A     In October of 2020, I would have been              17         A       Correct.
18   employed also as a Williamsport police officer                18         Q       Okay.
19   specially assigned to the Lycoming County Narcotics           19         A       Yeah. Sorry about that.
20   Enforcement Unit.                                             20         Q       No, that's not your fault. So when you were
21        Q     Okay. And could you tell us how that               21   loaned to the NEU or assigned to the NEU, were you
22   assignment to the Lycoming County Narcotics                   22   working full time for them?
23   Enforcement Unit worked?                                      23         A       Yes.
24        A     So I was essentially on lend from the              24         Q       Could you tell me what the hierarchy of the
25   Williamsport Bureau of Police to the Lycoming County          25   NEU was? Who was your boss, who was under you?

                                                               6                                                                      8
1    District Attorney's Office as a -- essentially a              1          A       So essentially there was the county
2    special county detective, assigned there temporarily          2    detectives and other -- you know, if there was other
3    basically to conduct drug investigations.                     3    specially assigned officers, they were basically
4         Q     And at that time would the City of                 4    tasked for us or case officers. At the time of this
5    Williamsport still have been paying your salary or            5    incident, I was asked to take a position also
6    were you getting paid by the Lycoming County District         6    temporarily as the coordinator, and then I reported at
7    Attorney's Office?                                            7    the District Attorney's Office to the then county --
8         A     The City of Williamsport.                          8    chief county detective, Michael Simpler. So my -- my
9         Q     Okay. How long have you been a police              9    duties over there, I reported to Chief Simpler as part
10   officer as of today?                                          10   of the DA's Office, but I, of course, still had --
11        A     Approximately 14 years.                            11         Q       Um-hum.
12        Q     The Lycoming County Narcotics Enforcement          12         A       -- my department that I was responsible for
13   Unit is often referred to as the NEU, is that right?          13   reporting to as well.
14        A     That's correct.                                    14         Q       What did you do as the coordinator for the
15        Q     Okay. Feel free to refer to it as the NEU          15   NEU?
16   during your testimony.                                        16         A       My job was essentially a little bit less case
17        A     Okay.                                              17   management and more administrative, you know, as far
18        Q     When I reviewed your resume, it said you           18   as assigning buy money when it was procured for the
19   ended your work for the NEU in 2020. When in 2020 did         19   officers, approving reports, things of that nature.
20   you end your work with the NEU?                               20   And occasionally help out with their cases.
21        A     That would have been June 26th of 2020, I          21         Q       Was Detective Kevin Dent your superior,
22   was -- I was removed from the NEU and promoted to my          22   inferior, equal?
23   now position as captain.                                      23         A       He would have been one of the -- one of the
24        Q     Okay. And why did you end your work with the       24   task force officers that would have worked for me
25   NEU? Just because of the promotion?                           25   essentially as the first line coordinator.


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1            Q     What about Detective Havens, how would he            1          Q      After you searched the basement processing
2    rank in correspondence to you in the NEU?                          2    that search warrant, did you have any involvement in
3            A     The same manner.                                     3    the investigation into Matthew Sumpter after September
4            Q     Okay. And who would have been Detective Dent         4    24th?
5    and Havens superiors at the NEU?                                   5          A      No. No. After my -- after assisting in the
6            A     So they would have -- as far as reporting day        6    search warrant, primarily -- and this is the case, you
7    to day, they would have reported to me as the                      7    know, as a general rule. Detective Dent would have
8    coordinator. I in turn would report to Chief County                8    continued his investigation kind on his own or with
9    Detective Simpler. Ultimately they were -- they would              9    the other officers until, you know, I would step in to
10   fall under -- you know, as far as employment goes,                 10   help assist.
11   Chief Simpler in the District Attorney's Office.                   11         Q      Do you recall what police officers were
12           Q     And then I believe you said this already, but        12   present when Sumpter's house was searched on September
13   for the Barasky investigation that occurred in the                 13   24th, 2020?
14   October 2020 range, you were a member of the NEU, not              14         A      I know there were several officers. I don't
15   Williamsport Bureau of Police?                                     15   remember for sure who they all were, but there was a
16           A     Correct. I was still employed with                   16   couple.
17   Williamsport, but specially assigned to the county                 17         Q      Do you remember Detective Dent being there
18   task force.                                                        18   specifically?
19           Q     Okay.                                                19         A      I believe so.
20           A     Yep.                                                 20         Q      What about Detective Tyson Havens?
21           Q     On September 24th, 2020, a search warrant was        21         A      It believe so.
22   executed on a Matthew Sumpter's house. Were you                    22         Q      Okay. Prior to the search, were you informed
23   involved in the execution of that search warrant?                  23   of what criminal conduct Sumpter was being accused of?
24           A     Yes.                                                 24         A      I was aware that he -- I believe it was
25           Q     Could you tell us what you did in                    25   possession of perhaps heroin or fentanyl or something

                                                                   10                                                                     12
1    correspondence with that search warrant?                           1    to that effect.
2            A     I searched some areas in the residence. I            2          Q      Okay. Did police have any concerns for their
3    believe the basement, if I recall. But that was                    3    safety when they were serving the search warrant on
4    relatively it. My -- I talked to his parents for a                 4    Sumpter's house?
5    little bit outside in the back yard, and just to                   5          A      As far as I would say, safety in the sense of
6    further explain, you know, why we were there and, you              6    exposure to controlled substances like Fentanyl -- do
7    know, why we were in their residence with a warrant.               7    you mean as far as what -- like assailants or anything
8    But that would have been my involvement as far as the              8    like that?
9    search warrant that day.                                           9          Q      Yeah. Did you have any specific safety
10           Q     Would you have been aware of Matthew                 10   concerns relating to Matthew Sumpter when you were
11   Sumpter's criminal record before that search?                      11   serving the warrant?
12           A     A little bit of it, depending on his status          12         A      I don't recall any. I know that as far as
13   as an informant.                                                   13   the execution of the search warrant, that's typically
14           Q     Were you present when Detective Dent                 14   done in a manner where police enter and secure the
15   interviewed Matthew Sumpter on September 24th, 2020?               15   residence to ensure that there's no suspects. So to
16           A     No, not that I recall.                               16   that end, I would say there was that, but that's a
17           Q     Did you interact with Sumpter at all on              17   general concern any time there's a warrant.
18   September 4th, 2020?                                               18         Q      Yeah.
19           A     The date of the search warrant at the                19         A      But specifically about Matthew Sumpter being
20   residence?                                                         20   aggressive or anything like that, I don't recall
21           Q     Yep.                                                 21   having any concerns.
22           A     Maybe in passing, but not -- not really any          22         Q      Would agree with me that a burglary is a
23   direct -- most -- I believe, if I recall correctly,                23   violent crime?
24   most of his interaction would have been with Detective             24         A      I would -- I would say it depends.
25   Dent.                                                              25         Q      Okay. And so when you look at somebody's


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1    criminal history, it doesn't tell you the facts of the           1    in an unmarked police vehicle, undercover vehicle.
2    crime that's on their record. Would you agree with               2    And while attempting to do surveillance on Mr.
3    that?                                                            3    Barasky, he began following me through Newberry, to
4            A   Correct.                                             4    the degree that when I tried to break contact with
5            Q   So if you're preparing to do a search warrant        5    him, he essentially was pursuing me through Newberry.
6    of somebody's house and you see a burglary conviction,           6         Q     Do you know what year that happened in?
7    would that give you a heightened sense of, you know,             7         A     2016.
8    you might be in danger of searching that house?                  8         Q     2016. Okay. Was that before or after the
9            A   No, I would say not specifically. It would           9    Kmart crash?
10   certainly be considered as part of the totality of the           10        A     I don't remember.
11   circumstances, and it would also have to be considered           11        Q     Okay. So approaching October 2nd, did you
12   when weighed against additional crimes that were on              12   have any conversations with Detective Dent about using
13   their criminal history.                                          13   Mr. Sumpter as an informant?
14           Q   Okay. Did you know that Sumpter offered to           14        A     Sort of. So what would have happened is
15   work as an informant on September 24th, 2020, during             15   Detective Dent -- and again, I'm referencing this in
16   the search?                                                      16   a -- sort of the general way that things are done and
17           A   I was made aware essentially at that point or        17   this would have been how it was conducted. He would
18   after that he would have been interested in working as           18   notify the members of NEU and myself that, you know,
19   an informant.                                                    19   Sumpter could purchase from, you know, any number of
20           Q   And who would have told you that?                    20   individuals. He would have named Mr. Barasky as one
21           A   Detective Dent.                                      21   of them. He then would have prepared a packet to
22           Q   Do you recall what Detective Dent told you           22   essentially sign up Mr. Sumpter as an informant.
23   Sumpter could offer as an informant?                             23        Q     Okay. And that would have been pursuant to
24           A   I believe he -- something to the effect that         24   the NEU regulations?
25   one of the people that Sumpter would be able to                  25        A     Correct.

                                                                 14                                                                   16
1    purchase narcotics from would be Mr. Barasky.                    1         Q     Okay. And you actually have a specific form
2            Q   Prior to October 2nd, 2020, did you ever have        2    that a confidential informant generally has to sign
3    any interactions with Anthony Barasky?                           3    before they could work for you, is that right?
4            A   Yes.                                                 4         A     Yes.
5            Q   What were they?                                      5         Q     So on October 2nd, how were you involved into
6            A   Prior to -- prior to my assignment in 2020           6    the preparation for Anthony Barasky's, you know,
7    with the narcotics unit, I previously had an                     7    arrest or the controlled buy on October 2nd?
8    interaction with -- I had pulled Mr. Barasky over,               8         A     So my involvement would have been when
9    probably, at one point as a patrolman. But                       9    Detective Dent relayed that he intended to conduct a
10   specifically one that I remember would have been in              10   controlled buy for Mr. Barasky, that the members of
11   2016 at which time I was employed as a county                    11   the NEU, as was the case in many instances, would be
12   detective at the narcotics unit during a vehicle                 12   asked for their input on what -- you know, what the
13   pursuit in Loyalsock.                                            13   idea of the accomplishment of that mission was that
14           Q   Okay. And would that be the vehicle pursuit          14   day. In this instance it was to arrest Mr. Barasky
15   where Mr. Barasky would have ended up crashing into              15   and basically intercept him as he arrived to conduct
16   the Kmart?                                                       16   the transaction.
17           A   Yes.                                                 17        Q     Okay. And did that -- do you recall when
18           Q   Okay.                                                18   that meeting happened on October 2nd?
19           A   I had one other interaction with him,                19        A     The day of. It would have been maybe in the
20   excluding that, which is -- would have occurred in the           20   morning or early afternoon.
21   Newberry section of Williamsport, where I was                    21        Q     Would that have been before you involved Old
22   conducting surveillance on Mr. Barasky, because we had           22   Lycoming Township in the case at all?
23   received information again about him selling                     23        A     Yes. So there would have been an initial
24   narcotics. And I believe at that time he was driving             24   discussion with the members of the narcotics unit.
25   a Durango, maybe a dark blue Durango. I was obviously            25   And then based on the fact that we knew that Mr.


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1    Barasky would obviously be coming out to, you know,                1    of at the mercy of how those controlled buys normally
2    Lycoming or Cogan Township -- or Hepburn Township,                 2    go. So we sort have to fit our plan into what's
3    excuse me, we would have then elicited the help of Old             3    normal for the informant and the dealer.
4    Lycoming Township who had jurisdiction in that area at             4                  So in this case it would have been not
5    the time.                                                          5    abnormal for Mr. Barasky to come to Sumpter's
6         Q        Okay. And do you know where that meeting             6    residence to deliver. So the plan was developed with
7    between the NEU members took place?                                7    the collaboration of Detective Dent and the members of
8         A        Initially the discussion would have occurred         8    NEU to have -- you know, to place an order for
9    at the narcotics unit office.                                      9    narcotics.
10        Q        Um-hum.                                              10        Q        Um-hum.
11        A        Ultimately that would have culminated in a --        11        A        And upon Mr. Barasky's approach into the
12   essentially a briefing with the members of NEU and Old             12   area, to essentially arrest him for coming to commit
13   Lycoming Township police, which did include the Chief              13   the delivery in the process.
14   and Detective Kriner.                                              14        Q        Now, do you remember if Detective Dent
15        Q        Okay. And at that meeting at the NEU                 15   informed you that he never used Mr. Sumpter as a
16   headquarters, who would have been present besides                  16   confidential informant before October 2nd?
17   yourself at that meeting?                                          17        A        I know that he had recently just signed him
18        A        All the officers that were going to be               18   up. I -- my understanding was that he had not used
19   involved --                                                        19   him prior to that instance.
20        Q        Okay.                                                20        Q        Okay. Did Detective Dent have any of the
21        A        -- in the controlled buy and/or arrest.              21   text messages from Mr. Sumpter's phone in his
22        Q        So it would have been at least yourself,             22   possession during this hearing? Or I'm sorry, during
23   Detective Dent amid Detective Havens?                              23   that meeting?
24        A        Yes.                                                 24        A        During the -- to set up how the -- how the
25        Q        But possibly more?                                   25   arrest would go?

                                                                   18                                                                     20
1         A        Yes.                                                 1         Q        Um-hum.
2         Q        Okay. So at that meeting, that's where the           2         A        I don't remember if he did.
3    plan was really developed to arrest Anthony Barasky                3         Q        Okay. Because just in -- well, the discovery
4    that day?                                                          4    from the District Attorney's Office I received and
5         A        If I recall correctly, it would have been at         5    from your counsel there is pictures that Detective
6    least preliminarily discussed on the best way to                   6    Dent appears to take of text messages from Mr.
7    approach it.                                                       7    Sumpter's phone.
8         Q        So -- and I'm asking in general on this, not         8         A        Okay.
9    necessarily this specific meeting. Do you discuss the              9         Q        Do you know if he would have had those
10   informant's criminal record and reliability during                 10   before -- or at least some of them before Anthony
11   those meetings?                                                    11   Barasky's arrest on October 2nd, 2020, or would it
12        A        No.                                                  12   have been after?
13        Q        What do you discuss as far as, you know, is          13        A        I don't know that he would have -- he would
14   it legal for us to actually arrest somebody during                 14   have produced them, but I think -- I would submit that
15   these meetings?                                                    15   it's fair to say that he would have been aware of them
16        A        So it would have been discussed about --             16   or may have at least viewed them on Sumpter's phone.
17   several things, but Detective Dent would essentially               17   One of the common practice when you're working through
18   provide the members that were present, you know, I'm               18   a case with an informant is, you know, they'll go --
19   looking at using this informant on this date. We're                19   you will go through text messages with them and sort
20   looking at purchasing, you know, this type of                      20   of review to establish kind of what is the MO when --
21   substance. I'm going to spend this much money.                     21   you know, when they're buying drugs from a certain
22        Q        Um-hum.                                              22   individual.
23        A        Here's how -- and kind of a side note to             23        Q        Okay. Did Detective Dent present his
24   that. When you're conducting a controlled buy or an                24   knowledge at this meeting of what those text messages
25   arrest or take down, more often than not you are sort              25   entailed to you or the other members of the NEU?


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1         A     He had -- I do recall he had relayed                1    the time.
2    something to the effect that -- I think as I stated a          2            Q   Um-hum.
3    few minutes ago, he would -- it was common for him --          3            A   Or Chief Hope. But I'm fairly certain it was
4    for Mr. Barasky to come to Sumpter to deliver, and             4    Detective Kriner I reached out to.
5    that Sumpter had purchased them -- purchased drugs             5            Q   What would you have said to him in that phone
6    from Mr. Barasky. So something to that effect would            6    call?
7    have been provided.                                            7            A   I would have relayed essentially what you and
8         Q     Okay. Now, do you recall Detective Dent             8    I just discussed. We had an informant. Not
9    relaying when Sumpter alleged he last purchased drugs          9    necessarily who the informant was, but sort of the
10   from Anthony Barasky?                                          10   facts and circumstances around what our intent was
11        A     I believe it was just in the days prior. It         11   that day, where it was going to occur, what we were
12   wasn't -- it was fairly recent when the controlled --          12   looking to do. So in a -- in this case essentially
13   when this attempt was made.                                    13   make an arrest and intercept the transaction. And,
14        Q     Okay. And then at what point did you decide         14   you know, how we were looking to go about doing that,
15   to involve the Old Lycoming Township police in this?           15   and that would have been relayed to him.
16        A     Around the time that the plan was developed         16           Q   Would you have relayed to the officer from
17   that the safest way to execute the arrest was to do it         17   Old Lycoming Township how -- what your probable cause
18   on the way up -- I believe it's Eckard Road, which at          18   was to suspect and then arrest Anthony Barasky?
19   that point would have been in their area. So as a --           19           A   No, not necessarily. We would have
20   obviously as a courtesy, but also as an officer safety         20   essentially relayed to them sort of the case
21   measure, we would have then included them and asked            21   background. I'm pretty sure that Detective Kriner
22   for their involvement.                                         22   also was familiar with Mr. Barasky.
23        Q     The meeting that you have at the NEU where          23           Q   Um-hum.
24   Detective Dent presents his findings and what he wants         24           A   So that would have -- we would have been
25   to do, is that a collaborative meeting where                   25   provided, you know, the name of our suspect to him.

                                                               22                                                                    24
1    everybody's contributing to the plan of how they're            1    And that's essentially what it would have been
2    going to go and arrest Mr. Barasky?                            2    relayed, but not necessarily the specifics of the case
3         A     Yes. And it was -- it was my practice as the        3    prior to that.
4    coordinator, and it's been the practice of                     4            Q   Okay. So that's why -- so you would have
5    coordinators I worked for, to draw from the training           5    related specifics about Mr. Barasky in your plan for
6    and experience from the officers that are there to             6    him, but maybe not necessarily specifics about Mr.
7    develop kind of the best plan --                               7    Sumpter and what happened previously?
8         Q     Um-hum.                                             8            A   Correct.
9         A     -- from everybody's input, especially those         9            Q   Okay. Then did you have a meeting at the Old
10   officers who may be familiar with the subject. So in           10   Lycoming Township police station to bring everybody up
11   this case, Detective Havens obviously would have had           11   to speed before the arrest?
12   some knowledge about Mr. Barasky, so we would have             12           A   Yes.
13   also pulled from his.                                          13           Q   Could you tell us who was present at that
14        Q     Okay. And that's exactly what I was going to        14   meeting?
15   ask you next. I believe Detective Havens in                    15           A   All of the officers that were involved with
16   particular had some special knowledge about Mr.                16   the -- with the takedown that day or the arrest would
17   Barasky. Is that right?                                        17   needed to have been present. Off the top of my head,
18        A     That's correct.                                     18   Officer Gardner, Detective Dent, Detective Sergeant
19        Q     Okay. So you would have relied on him as            19   Kriner, Chief Hope, Detective Havens, and a couple
20   well when developing this plan?                                20   others. Maybe Detective Caschera. And I don't
21        A     Yes.                                                21   recall. There may have been an additional couple, but
22        Q     Did you make the call to Old Lycoming               22   I don't recall for sure.
23   Township to get them involved in it?                           23           Q   Okay.
24        A     I believe I did. I reached out either               24           A   But, yeah, several officers from the unit.
25   directly to Detective Kriner. He was a detective at            25           Q   Did you lead that meeting at the Old Lycoming


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1    Township Police Department?                                      1    information.
2            A    Sort of. In a sense. I would -- upon                2         Q     What was the plan with Detective Dent to set
3    gathering everybody, I would sort of give them the               3    the sale up with Anthony Barasky?
4    initial brief that here's what our intent is, here's             4         A     So as I stated a little bit ago, oftentimes
5    who the target of the investigation is. This is what             5    you are -- you're sort of forced to develop your plan
6    we're hoping to accomplish. And then, you know,                  6    of action within the confines of what is common. So
7    here's how we're thinking we would like to go about              7    in this instance, our understanding was that Mr.
8    doing this. What does everybody think.                           8    Barasky would come directly to Mr. Sumpter's house and
9            Q    Okay.                                               9    deliver.
10           A    And then my role at that point would sort of        10              So our plan would have included arranging a
11   take a second seat to letting the officers provide               11   controlled buy for essentially a narcotic that he
12   their input and develop the plan.                                12   commonly purchased from Mr. Barasky, which -- and
13           Q    And I would assume one of the benefits of           13   forgive me. I don't recall if it was heroin or
14   involving the Old Lycoming Township police would be              14   Fentanyl or a mixture, but it was a controlled
15   getting their local expertise for that specific area?            15   substance, nonetheless. So our plan would have
16           A    Correct. They would be able to provide us           16   included calling him and summoning him, you know, at
17   with information, and I believe they did provide us              17   least to the area to conduct that controlled purchase.
18   specifically with information about, you know, where             18        Q     Okay. And was the plan for Detective Dent to
19   that road would lead to on the other side of Eckard              19   go to be with the confidential informant to make those
20   and where -- you know, should Mr. Barasky flee again,            20   communications?
21   where he may end up going, what the layout of that               21        A     Yes. So Detective Dent would -- you know,
22   area was like. We would be able to gain, obviously,              22   could election to -- and this is oftentimes done. He
23   some geographical insight but -- as well as draw from            23   may go with the informant or be near him. In this
24   their experience in how to do about executing the                24   case I believe he was physically with him. And he
25   plan.                                                            25   essentially is the coordinating case officer for the

                                                                 26                                                                  28
1            Q    Would Chief Hope have contributed to, let's         1    handling of the informant, which is his
2    say, determining the location for the traffic stop of            2    responsibility, as well as a dual responsibility to
3    Anthony Barasky?                                                 3    keep the arresting teams sort of apprised and sort
4            A    He may. And I don't recall specifically if          4    of -- you know, put together a concerted effort
5    he did, but it would not be out of the ordinary for,             5    between the two.
6    again, an officer from that agency, especially the               6         Q     Was it discussed that Detective Dent never
7    chief, to make recommendations or offer some insight             7    heard Anthony Barasky's voice before so he wouldn't be
8    into, you know, the safest location or where to go               8    able to identify him on the phone?
9    about, you know, taking care of it.                              9         A     He may not have. He would have -- again, he
10           Q    At that meeting did you -- at the Old               10   would have relied on the information that was coming
11   Lycoming Township Police Department did you discuss              11   in via phone call, via text message and/or from Mr.
12   Matthew Sumpter's criminal record at all?                        12   Sumpter.
13           A    I don't believe we did. And that is --              13        Q     Okay. Would you agree with me that Detective
14   again, that's a -- it's pretty common to not discuss             14   Kevin Dent was the lead investigator into the Anthony
15   specifics about the confidential informant, to include           15   Barasky case in October, 2020?
16   their -- their name. Maybe the location of where they            16        A     Yes.
17   live for officer safety reasons, but that's -- usually           17        Q     At that meeting at the Old Lycoming Township
18   those things are pretty minimalized to protect -- you            18   Police Department, did you discuss Anthony Barasky's
19   know, as much as we can, protect the identity of the             19   prior criminal record?
20   informant.                                                       20        A     I think we -- we went to the extent of at
21           Q    Okay. So you're not sure if you would have          21   least reminding everybody of his prior interactions.
22   even told the Old Lycoming Township officers Matthew             22   There would have been a mixture of officers. Some of
23   Sumpter's name during that meeting?                              23   them, such as myself, Detective Havens and some
24           A    We may not have. They may have mentioned at         24   others -- excuse me -- who would be familiar with Mr.
25   a minimum his name, but not a whole lot of additional            25   Barasky, and some who are obviously a little bit


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1    younger and may not have had interactions.                       1    concealing them inside the car. So, you know, from a
2                So it would have at least been discussed             2    layman's perspective like myself, there's a bunch of
3    that, you know, be advised and just keep this in your            3    plastic pieces around the center console or the glove
4    mind then, you know, there's a history of fleeing and            4    box area. Are you talking about he would remove those
5    this -- so on and so forth. So at least to give the              5    and place drugs inside and then replace them so it was
6    officers at least a little bit of a heads up for                 6    hidden?
7    officer safety so that they understood some of the               7         A        Yes. And that was Mr. Barasky's MO. In his
8    dynamics there.                                                  8    previous case where he fled, there was a substantial
9           Q    What was the plan for -- strike that. At             9    amount of heroin which was concealed within the dash
10   that briefing at the Old Lycoming Township Police                10   of the car.
11   Department, what was the plan that was created to                11        Q        Um-hum.
12   actually stop Anthony Barasky's vehicle and arrest               12        A        And I knew from my experience with traffic
13   him?                                                             13   stops and criminal interdiction, that it was very
14          A    So one of the things that takes place when --        14   common and relatively easy to do to conceal drugs
15   in a police operation, especially in a dangerous                 15   behind plastic panels in the car and things of that
16   operation like dealing with a drug trafficker -- is              16   nature.
17   you develop some safety measures and you have to                 17        Q        You wouldn't have to be a mechanic to figure
18   consider the safety of officers. First and foremost,             18   that out?
19   the public, bystanders, the informant and officers and           19        A        No.
20   the suspect. So based upon what we knew about where              20        Q        And you were referring to the 2016 fleeing
21   Mr. Sumpter resided and where the drug transactions              21   case where he hit the Kmart, you found drugs inside
22   had occurred and his interaction, our understanding              22   the plastic compartments to his vehicle?
23   was that it was a single access in and out from Eckard           23        A        Yes.
24   Road, up onto a hill where there was a development of            24        Q        So as far as the nuts and bolts of the plan
25   houses, presumably with children and other people.               25   were to stop Anthony Barasky, who was supposed to do

                                                                 30                                                                     32
1           Q    Um-hum.                                              1    what?
2           A    So the plan was developed that, you know --          2         A        So the -- Detective Dent, as I stated
3    and based on the knowledge and the experience that               3    earlier, would have been the -- sort of the case
4    when a drug transaction's arranged between a purchaser           4    management officer. He would have coordinated between
5    and the drug dealer, they typically bring the                    5    the narcotics unit and his informant, and essentially
6    narcotics with them.                                             6    act as a go-between to provide information. The other
7           Q    Um-hum.                                              7    officers that were on scene that were undercover -- in
8           A    So he -- it wouldn't be common for, let's            8    an undercover capacity would have acted as sort of --
9    say, Mr. Barasky, as an example, to come get money               9    twofold. They would have been surveillance officers
10   from Sumpter, leave and come back. He would come with            10   in the event that -- or if surveillance was needed.
11   the drugs. So the idea was to -- once Mr. Barasky had            11                 And secondary to that, they also would have
12   indicated that he was en route with narcotics and had            12   assisted in the -- affecting the arrest. Myself and
13   facilitated that crime via cell phone, we would have             13   Officer Gardner, for that detail were in the Narcotic
14   then attempted to affect an arrest and a traffic stop            14   Enforcement Unit's black unmarked police vehicle
15   of Mr. Barasky on his way to it.                                 15   Interceptor. And Chief Hope was in a -- I don't
16               Some of the other things involved there are          16   recall if it was unmarked or marked, but he was also
17   the prior knowledge, obviously, of Mr. Barasky's drug            17   in a police vehicle, both equipped with standard
18   history. But moreover his -- in prior cases, his                 18   police lights and sirens and so on and so forth. And
19   concealing methods. It was common for him to conceal             19   I believe Detective Kriner was also in some fashion in
20   large amounts of drugs within the vehicles. Not just             20   a police vehicle, but I don't recall if it was marked
21   within sort of the passenger compartment, but                    21   or unmarked.
22   literally in the car, inside the dash and things of              22        Q        Okay. I know you said part of the plan was
23   that nature. So those things would've all been sort              23   to make sure Anthony Barasky responded to the
24   of tapped as considerations when developing that plan.           24   informant that he had drugs and he was on his way. Is
25          Q    Okay. And I know you're talking about                25   that right?


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1           A    Yes.                                                1    with you?
2           Q    When Detective Dent relayed to the team that        2          A       No, with everybody.
3    Anthony Barasky's on his way, do you recall what he             3          Q       Okay.
4    specifically said over the radio then?                          4          A       He would have been just relaying stuff out so
5           A    I don't recall specifically, but he -- I do         5    that everybody could kind of basically stay on the
6    know that he would have indicated that -- something to          6    same page.
7    the effect, okay, he's on his way.                              7          Q       So Detective Dent would have been talking
8           Q    Um-hum.                                             8    over the same radio frequency as the rest of the
9           A    And if there was a period of time where we          9    police officers?
10   didn't see him, he would essential have the informant           10         A       Yes.
11   reach back out and say, he's saying he's three minutes          11         Q       Okay. From -- once you got to that gravel
12   away or he's saying he's ten minutes away or something          12   parking lot, how long do you think you waited until
13   to that effect.                                                 13   Anthony Barasky's vehicle showed up?
14          Q    To your knowledge, did Detective Dent ever          14         A       I would say approximately 20 or 30 minutes,
15   say over the radio, like Barasky confirmed he has the           15   somewhere in there.
16   drugs to the confidential informant and he's on his             16         Q       And how did you know it was Anthony Barasky's
17   way?                                                            17   vehicle?
18          A    I don't recall that. I just believe it was          18         A       As he drove by and began traveling,
19   something to the effect that he was -- he was on his            19   essentially as I'm looking out toward Eckard, when he
20   way up.                                                         20   turned off and approached, we would have seen him in
21          Q    Okay. And then would you agree with me that         21   the car.
22   you went with Detective Gardner and Chief Hope to               22         Q       Okay.
23   select a place to sit to pull Barasky's vehicle over?           23         A       We knew that he was lighter skinned and had
24          A    Correct. Yes. We would have gone up and we          24   some facial hair on the sides. And based on the time
25   did go up to the area of -- I believe it is Roan's RV.          25   frame, based on observing him, we had -- we were

                                                                34                                                                      36
1    There was a gravel lot just off of Eckard Road that             1    probably about 150 to 200 feet off of Eckard, so we're
2    allowed us basically an unobstructed relatively --              2    relatively close.
3    sorry -- relatively close view of Eckard Road, which            3          Q       And just so the record's clear, you made a
4    is where we did select to sit.                                  4    gesture like a T, so you would have been looking
5           Q    Okay. And did Chief Hope help you select            5    perpendicular to the road and would have seen the side
6    that location?                                                  6    of Anthony Barasky's car go past you?
7           A    Essentially. We sort of pulled in there             7          A       That's correct.
8    together and both turned vehicles around and parked             8          Q       Okay. And then that's when you would have
9    sort of next to each other so that we could still talk          9    identified Anthony as the driver and decided to
10   kind of face to face, but maintain a -- you know, a             10   initiate the traffic stop?
11   visual on -- on Eckard.                                         11         A       Yes.
12          Q    Okay. And was Detective Tyson Havens located        12         Q       Okay. Who gave the command to initiate the
13   on Lycoming Creek Road then trying to spot Anthony              13   traffic stop?
14   Barasky on his way?                                             14         A       We -- myself, Officer Gardner and Chief
15          A    Somebody may have been. I don't remember if         15   Hope -- when Mr. Barasky drove by, we would have
16   it was Detective Havens or if he was further up, but I          16   called out, he just turned on Eckard. We're going to
17   vaguely remember -- and I apologize. I vaguely                  17   be pulling out to initiate the traffic stop. Here's
18   remember somebody being a little further down on the            18   the vehicle that he's in, this tag.
19   Creek Road or in that area watching for him, watching           19         Q       Um-hum.
20   for Mr. Barasky as he approached.                               20         A       And we would let him know, okay, we're
21          Q    And how were you in communication with the          21   lighting up the vehicle now.
22   rest of the team assembling to take down Barasky?               22         Q       And the plan was to stop Mr. Barasky's
23          A    Through radio communications and cell phone.        23   vehicle as soon as you saw him on Eckard Road. Is
24          Q    Would Detective Dent have been communicating        24   that right?
25   in the same way with everybody or just specifically             25         A       Essentially. Once we could get behind him


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1    and get -- you know, get into place to initiate a                  1          A      Correct.
2    traffic stop.                                                      2          Q      Okay. Do you recall Chief Hope calling out
3          Q       Okay. Did your vehicle or Chief Hope's               3    over the radio that like he thought Barasky was not
4    vehicle pull out to initiate the traffic stop first?               4    going to stop for you?
5          A       I believe my vehicle.                                5          A      I don't recall that, but he may have.
6          Q       And would it have been lights and sirens on          6          Q      Once -- so you said Barasky pulled his
7    your vehicle to do the traffic stop?                               7    vehicle over, but it was still kind of blocking the
8          A       Yes.                                                 8    road on Eckard Road?
9          Q       Could you tell us what happened when you             9          A      Yes.
10   turned on your lights and sirens and pulled out?                   10         Q      Okay. Did he actually like turn into Miller
11         A       Chief Hope approached in his vehicle with us.        11   Road at all, the access road to Mr. Sumpter's
12   As Mr. Barasky approached -- and I don't recall the                12   development?
13   name of the road, but there was a secondary road                   13         A      My recollection was that when we -- when
14   that -- as we're behind Mr. Barasky, there was a                   14   the -- when Mr. Barasky's vehicle came to rest and we
15   secondary road that turned right --                                15   were able to begin taking physical custody of him, the
16         Q       Um-hum.                                              16   vehicle was turned slightly angular, indicating a turn
17         A       -- and sort of went on an incline and took           17   into Miller Road, but he had not made it all the way
18   you into the development area where Mr. Sumpter lived.             18   and committed to travel up there. But he was
19         Q       Um-hum.                                              19   essential pulling into it and slightly turned off to
20         A       So just before that we had initiated the             20   the right.
21   traffic stop, before Mr. Barasky got to that inlet.                21         Q      Do you recall if he ever put a turn signal on
22         Q       Um-hum.                                              22   to pull over?
23         A       And he pulled over or essentially stopped in         23         A      I don't.
24   the lane on Eckard --                                              24         Q      Okay. Would you agree with me that Old
25         Q       Okay.                                                25   Lycoming Township officers were stationed right past

                                                                   38                                                                     40
1          A       -- just before or right as he began to turn          1    the road to go into Mr. Sumpter's development where he
2    into that access road.                                             2    lived?
3          Q       Did you put on the lights and sirens for your        3          A      Yes.
4    police vehicle as soon as you were pulling out of that             4          Q      Okay. So would you agree that Mr. Barasky
5    gravel lot?                                                        5    couldn't have passed that road going into Mr.
6          A       No, we would have pulled out, caught up to           6    Sumpter's development, at least without dangerous
7    him, and got up a little bit closer and then                       7    activity?
8    illuminated the lights.                                            8          A      Do you mean bypass the turn and keep going
9          Q       At any point did you think Anthony Barasky           9    straight?
10   was fleeing that day?                                              10         Q      Um-hum. Yes.
11         A       Not after he -- not after he came to a stop          11         A      I believe he could have -- he could have kept
12   and we got him into custody. However, it was an                    12   going straight.
13   ongoing consideration in my mind that I had to                     13         Q      Um-hum.
14   evaluate, and I think the other officers kind of did               14         A      Initially when we pulled out and attempted to
15   the same, was waiting for Mr. Barasky to pull away                 15   pull him over, he would have been able to continue on.
16   when we got out of the car or drive away when we                   16   And there was a short period of time there where that
17   approached.                                                        17   would have been the case. However, once the traffic
18         Q       Okay.                                                18   stop was essentially moving along and he was
19         A       Which is -- under the circumstances with Mr.         19   compliant, other vehicles could have pulled in to
20   Barasky's history and the times I've had that happen               20   assist and come up and help out.
21   to me, so it's always a consideration.                             21         Q      Okay. And to -- also to drive past that road
22         Q       And you would say like through your training         22   to Mr. Sumpter's development, he would have had to
23   and experience, that's something you look for because              23   ignore your lights and sirens and flee, essentially?
24   you're out of your vehicle and can't catch up to him               24         A      To continue up into the development, you
25   as quick then?                                                     25   mean?


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1          Q     No, no. So if he was going to drive past Mr.         1    the side somewhere, and I don't recall if it was off
2    Sumpter's development, keep going straight, he would             2    of Miller Road or if he -- if he exited and came
3    have had to ignore your lights and siren and the                 3    around. But I do recall him sort of coming in and
4    traffic stop at that point?                                      4    assisting as well. I just don't remember what
5          A     Yes. By the time he would have bypassed the          5    direction.
6    turn on Miller Road, I think that's what it is -- for            6          Q      Did all the officers approaching Mr.
7    him to bypass that and continue on, it would have been           7    Barasky's car have their firearms drawn?
8    fairly evident at that -- by that point after                    8          A      I don't remember. I know that -- I'm pretty
9    initiation of the lights and siren that he was not               9    sure that I did.
10   intending to stop. That would have been evident.                 10         Q      Um-hum.
11         Q     Okay. When Barasky stopped his car, what did         11         A      But I don't know that -- it's also common for
12   you do?                                                          12   at least one officer to not, and they will oftentimes
13         A     I exited the driver's side. I would have             13   be in charge of physically getting custody or getting
14   drawn my firearm and began giving orders. I may have             14   handcuffs out. So I think it's -- based on my
15   stopped giving orders at some point if another officer           15   recollection and practice, it's fair to say that not
16   began yelling. Oftentimes what happens is when                   16   everybody did.
17   officers start to affect an arrest and give orders, a            17         Q      Okay. How did you actually get Barasky out
18   couple different officers may all give orders. So as             18   of the vehicle?
19   to not make it confusing or give them conflicting                19         A      He was -- I believe Detective Havens was able
20   orders, we'll often stop. If I notice that, let's                20   to physically sort of get his hands on Mr. Barasky and
21   say, for example, Officer Gardner's giving him orders            21   extract him, not without any sort of the fight or
22   and he's complying to them, I'll stop yelling as well.           22   anything like that. But I believe, if I recall
23         Q     At the time you got out of the car with your         23   correctly, it was Detective Havens.
24   firearm drawn, did you see who else got out of their             24         Q      Okay. Did anybody try to break a window on
25   vehicles at that point to arrest Mr. Barasky?                    25   Mr. Barasky's car?

                                                                 42                                                                     44
1          A     No, not initially. My -- my attention was on         1          A      No, not to my recollection.
2    not only Mr. Barasky, but the vehicle itself and sort            2          Q      To the best of your recollection, did Barasky
3    of the interior, trying to make sure that Mr. Barasky            3    resist at all getting out of the car?
4    was, in fact, the only one in the car.                           4          A      No.
5          Q     Okay. As far as your vehicle was positioned          5          Q      You believe Detective Havens put handcuffs on
6    in relation to -- let me ask this differently. How               6    Mr. Barasky?
7    was your vehicle positioned in relation to Chief                 7          A      I believe so.
8    Hope's vehicle and Barasky's vehicle?                            8          Q      Okay. Did you speak with Barasky at all when
9          A     So Mr. Barasky's vehicle would have been --          9    he was arrested?
10   if this is Mr. Barasky, I would have been in our                 10         A      Just -- sort of -- yes, to answer your
11   vehicle -- if I recall correctly, the first unit                 11   question, I did, but not to any extent. When we began
12   behind him.                                                      12   transporting him back to Old Lycoming Township's
13         Q     Um-hum.                                              13   police department, we would have indicated we're going
14         A     Approximately half a car length to a full car        14   to take you down to Lycoming. I don't even know if we
15   length behind. And then Chief Hope, I believe, would             15   would have notified him yet that we were going to do a
16   have been offset slightly to the left or right,                  16   search.
17   slightly behind us or near parallel to us, somewhere             17         Q      Um-hum.
18   in there.                                                        18         A      Usually in -- and my practice was this. That
19         Q     Do you recall if Chief Hope got out his car          19   if I assisted another officer with an arrest and, you
20   to participate in the arrest?                                    20   know, if the person was in the back of the car and
21         A     I believe he did.                                    21   said, why am I under arrest, what did I do --
22         Q     Okay. And did Detective Havens come from             22         Q      Um-hum.
23   somewhere at some point to join in?                              23         A      -- so as not to provide them any conflicting
24         A     He did. He approached from -- Detective              24   information, I usually tell them, listen, the
25   Havens approached from somewhere off of the front to             25   detective that has your case is going to come down and


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1    talk to you.                                                    1    there was no controlled substance found on the strip
2         Q     Okay. So even if you did talk to Mr.                 2    search, however, we have had instances several times,
3    Barasky, it was nothing substantive about the case?             3    especially involving drug traffickers or users, where
4         A     Correct.                                             4    they had controlled substances or contraband contained
5         Q     Was Barasky searched when he was taken out of        5    in their body.
6    the vehicle?                                                    6          Q     Um-hum.
7         A     Initially I believe he was -- preemptive just        7          A     And oftentimes at intake on their initial
8    an initial search or pat down for weapons, and then a           8    search in there or somewhere in there, they would
9    subsequent search down at Old Lycoming Township.                9    oftentimes retrieve them and flush them down the
10        Q     Were any drugs found on Mr. Barasky's person?        10   toilet before the CO's could get them. So it wouldn't
11        A     No, not to my recollection.                          11   be uncommon for somebody to recommend that under
12        Q     Did you have any involvement in the search of        12   those -- those circumstances.
13   Mr. Barasky's vehicle?                                          13         Q     Okay. That's -- the concern's essentially
14        A     No.                                                  14   somebody sees the police lights behind them and they
15        Q     At the scene did -- at the scene of the              15   eat the drugs, something like that?
16   traffic stop did anybody search Mr. Barasky's vehicle?          16         A     Eat them or -- or secret them.
17        A     I don't recall if there was an actual search         17         Q     Okay. Do you know what the results of the
18   done. I think at a minimum, probably a -- a wingspan            18   dry cell at the Lycoming County Prison were?
19   visual search, but that would have been it.                     19         A     No.
20        Q     To your knowledge, were any drugs found in           20         Q     After Barasky was arrested, did you transport
21   Mr. Barasky's vehicle?                                          21   him to the Old Lycoming Township Police Department?
22        A     No.                                                  22         A     Yes, I -- Officer Gardner and I transported
23        Q     How -- or where did you take Mr. Barasky's           23   Mr. Barasky from Eckard Road and Miller Road --
24   car after the traffic stop?                                     24         Q     Um-hum.
25        A     I believe it was towed, and it would have            25         A     -- to Old Lycoming Township Police

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1    been the practice at the time for it to go to city              1    Department.
2    police impound, which is where the NEU would store              2          Q     Did you have any involvement with the
3    their vehicle.                                                  3    investigation after the strip search then at the Old
4         Q     Did you personally pat down or search Mr.            4    Lycoming County Police Department?
5    Barasky at all that day?                                        5          A     No. My involvement after the arrest that day
6         A     I did a strip search of Mr. Barasky with             6    was -- I think that concluded it --
7    Officer Gardner at Old Lycoming Township.                       7          Q     Okay.
8         Q     And what did you find during that strip              8          A     -- to my recollection.
9    search?                                                         9          Q     So I don't recall searching Sumpter's phone
10        A     Nothing -- nothing of -- no contraband.              10   or anything like that?
11        Q     And would you agree with me that after Mr.           11         A     No.
12   Barasky was -- you found out he was going to the                12               (Whereupon, a document was produced and
13   Lycoming County Prison, you called ahead to make sure           13   marked as Plaintiff's Exhibit No. 1 for
14   he was put in a dry cell?                                       14   identification.)
15        A     Yes. There was some discussion from                  15   BY MR. GRYSKEWICZ:
16   Detective Dent -- or somebody had requested that I              16         Q     Okay. I'm going to show you a map. Just
17   call ahead, and I think the recommendation was                  17   take a look at that for a second. Does this map
18   something to the effect like, hey, make sure you let            18   appear to you to be an accurate depiction of the
19   the county prison know -- ask them for a dry cell,              19   general area where the traffic stop of Barasky
20   based on the fact that no drugs were found on the               20   occurred in Brentwood Drive?
21   physical search of him.                                         21         A     Oh, okay. I had to find it. I'm sorry. So
22        Q     Would it be common for you to request a dry          22   right here where -- yeah. So where you have this --
23   cell at the Lycoming County Prison?                             23   it looks like on this -- where this green line
24        A     Under the circumstances which were present           24   parallels -- I'm not sure what route that is labeled
25   that day, and that would have included the fact that            25   as, but if I'm seeing this --


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1            Q    Right there.                                         1           A    Correct.
2            A    Am I on the wrong one?                               2           Q    Okay. And to the best of your knowledge, do
3            Q    No, no, no. Like that's the name of the              3    you know where Detective Dent was when this all
4    road. It just kind of loops around.                               4    happened?
5            A    Okay. So -- yes. So right here where Eckard          5           A    Up here (indicating). What would you like to
6    Road essentially intercepts with Miller, right in                 6    the label that?
7    there where that green line stops would have been the             7           Q    Would he have just been at Sumpter's house
8    approximate location of the traffic stop.                         8    there?
9            Q    Would you be able to mark that on the map for        9           A    As far as I recall, yeah.
10   me with an X?                                                     10          Q    Okay. That's fine. You don't have to put
11           A    Sure.                                                11   anything for that.
12           Q    And then you could hang onto the pen for a           12               There were also officers with tack strips
13   minute.                                                           13   waiting in case Mr. Barasky fled. Is that right?
14           A    Okay. Yep.                                           14          A    Yes. They had some spike strips available.
15           Q    So would you agree with me that the Miller           15   Yep.
16   Road led to Brentwood Drive where the informant lived?            16          Q    And were they after Miller Road or before it
17           A    Yes. And I'm not -- I don't recall the road          17   or where on the map?
18   or the specific street that he lived on, but I know               18          A    I believe they were up on Miller Road in the
19   that it was up there.                                             19   event that when we initiated the -- to affect the
20           Q    Okay. And you would agree with me that once          20   traffic stop, in the event that he fled, they would be
21   a driver turns on Miler Road, that's the only way in              21   able to quickly deploy them out.
22   or out of that development?                                       22          Q    Okay. Did Barasky's vehicle stop in the
23           A    Yes. Yeah, as far as I know.                         23   general area where you guys planned to stop him?
24           Q    And to the best of your knowledge, that red          24          A    Yeah. Yes, I would say that's -- that's
25   little dot there on the map, does that -- is that the             25   accurate.

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1    rough location of 416 Brentwood Drive where the                   1           Q    Okay. Would you agree with me that if he was
2    informant lived?                                                  2    allowed to turn onto Miller Road, he wouldn't have
3            A    To my recollection, yes, that's -- that's            3    been able to exit that development except through
4    where he would have been -- that's where he -- Mr.                4    Miller Road?
5    Sumpter would have resided.                                       5           A    Yes.
6            Q    Could you put a circle on that map where you,        6           Q    So why was it the police decision to stop him
7    Chief Hope and Detective Gardner were staged waiting              7    on Eckard Road where he could have had an escape route
8    for Mr. Barasky?                                                  8    versus letting him trap himself on Miller Road?
9            A    A circle, you said?                                  9           A    Because along this route on Eckard, as you
10           Q    Yeah.                                                10   travel this, there was -- it's basically wooded area.
11           A    Probably right in there (indicating).                11   The homes that are along there are relatively sort of
12           Q    Okay. And do you know where Sergeant                 12   off that road and not directly involved. When you
13   Kriner -- or where Detective Kriner would have been               13   turn onto Miller Road and you start to get up onto
14   stationed?                                                        14   Brentwood and these other -- kind of have a hard time
15           A    I believe he was up in the -- in this area,          15   reading them. But all these --
16   right around Miller Road, I believe.                              16          Q    Yep.
17           Q    Okay. Could you just put a square on the map         17          A    Essential all these roads right here, these
18   where you think Detective Kriner was?                             18   are all littered with close houses. There's a lot of
19           A    Yeah. I'll make it rather -- a little bit            19   residences, a lot of people. I presume children. So
20   larger --                                                         20   when we went out, the assessment of risk to the
21           Q    Okay.                                                21   public, it was -- it would have been more risky than
22           A    -- because I know it was somewhere in that           22   prudent to let him -- to let Mr. Barasky proceed and
23   area.                                                             23   get up into here in the event that he fled, like he
24           Q    Yeah. Somewhere in that general area, but            24   had in the past, at high rate of speeds, potentially
25   you don't know a specific location?                               25   injuring -- injuring somebody or striking a building.


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1         Q        Okay.                                                1    officer, would file that charge against an individual?
2         A        So the decision was made to affect a traffic         2          A     If, based upon the phone contact, whether it
3    stop down here where, had he fled, he's remaining on a             3    be voice or, you know, text message or some sort of
4    less populated road and the risk to the public would               4    application, et cetera, where it appeared as though
5    have been less.                                                    5    they were facilitating the arrangement of a drug deal
6         Q        You would agree with me without you                  6    using that phone.
7    initiating the traffic stop on Eckard Road, you don't              7          Q     Have you ever charged somebody with criminal
8    know if Mr. Barasky was going to make a right onto                 8    use of a communication facility and no other crime in
9    Miller Road or keep going straight onto Eckard Road?               9    your career?
10        A        Based upon what he relayed -- based upon what        10         A     I don't remember if I have or not.
11   Mr. Barasky relayed to Sumpter and to Detective Dent,              11         Q     Have you ever charged somebody with the
12   our belief was that he was committing to turn onto                 12   attempted delivery of a controlled substance before?
13   Miller Road, subsequently making it to the residence               13         A     Yes.
14   on Brentwood.                                                      14         Q     And I'm sure you've used confidential
15        Q        Okay. So your belief he was going to the             15   informants before during your career as a police
16   residence on Brentwood was based entirely on what                  16   officer. Is that right?
17   Sumpter was telling Detective Dent?                                17         A     Yes, sir.
18        A        And the -- and the phone call and text               18         Q     What are you taught through your training and
19   messages that would have been kind of going back and               19   experience you must do to make sure an informant's
20   forth. Yes.                                                        20   reliable in a drug case?
21        Q        Okay. Would you agree with me, as part of            21         A     There's a -- there's sort of several things,
22   drug investigations, police officers will often                    22   but the reliability of an informant can be established
23   observe a controlled buy with a -- you know, a drug                23   in a couple ways, one of them being a reliability --
24   dealer and informant and then make an arrest at a                  24   you can do it through controlled buys. You can
25   later time of the drug dealer?                                     25   have -- you know, they'll arrange a controlled buy,

                                                                   54                                                                    56
1         A        Sometime, yep. Yes.                                  1    tell you who they can buy from. You do the buy, and
2         Q        Why wasn't that option picked for Mr. Barasky        2    essentially it's successful or it goes through.
3    this day?                                                          3                I've had informants where more of their
4         A        Detective Dent decided that he wished to             4    reliability would be based on the information they
5    affect the arrest of Mr. Barasky that day. And I'm                 5    provided, not taking it necessarily at face value, but
6    not sure what all considerations he took in in wanting             6    if they told me certain specifics about some crimes or
7    to go do that. But as the case officer, that would                 7    drug traffickers and their habits and it was
8    have been his decision primarily to say, you know,                 8    consistent with knowledge that I already possessed as
9    we're just -- I think we just need to arrest him                   9    a -- as an officer, I would lend credibility to that
10   today.                                                             10   as well. So sometimes you have more of, you know, a
11        Q        Okay. I'm going to take that back.                   11   controlled buy. Sometimes you have more information.
12        A        Yep, go ahead.                                       12   Sometimes I can only go off of information that they
13        Q        How many arrests do you estimate you've made         13   have, so it's -- it just depends.
14   as a police officer?                                               14         Q     Okay. So sometimes you might just have
15        A        Thousands.                                           15   special information that you know nobody else would
16        Q        Thousands. How many arrests for drug crimes          16   know unless they were involved in it through your
17   out of those thousands number do you think you made?               17   investigations, you would use that?
18        A        I would say 80 percent of them.                      18         A     Yes.
19        Q        Okay. So mostly drug crimes?                         19         Q     Okay. And what about when you've never used
20        A        Yeah.                                                20   an informant before, what kind of precautions do you
21        Q        Okay. So you're familiar with the criminal           21   take as an officer to make sure they're telling the
22   use of a communication facility charge under Section               22   truth and they're reliable?
23   7512 of the Crimes Code?                                           23         A     I'm going to examine their -- if I've never
24        A        Yes.                                                 24   used them before, I'm going to rely on more so the
25        Q        Could you explain when you, as a police              25   information that they provide. So if I -- just as an


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1    example in general. If I have a drug trafficker that              1          A     So in this case -- and I'll use Mr. Barasky.
2    I know, and I know that that drug trafficker's habits             2    If I had an informant come to me and say -- you know,
3    are very specific things, and I know that they carry a            3    if I say, all right, who can you -- who can you buy
4    specific gun and I know their MO for how they conduct             4    from, what targets would you have. Well, I can buy
5    a drug deal -- let's say they might go to a house and             5    from a guy that goes by Ant or A, which is what Mr.
6    then come see the buyer. They might go to the buyer,              6    Barasky used as a street name. He drives a blue
7    then go get money. They typically have a motus                    7    Durango. He's got light skin. He typically does
8    operandi that they don't really deviate from.                     8    this. He always conceals it really well in the car.
9          Q      Um-hum.                                              9          Q     Um-hum.
10         A      And each one of them has sort of their own           10         A     I know that that's credible because I know
11   nuances. So if the -- if an informant or a potential              11   from prior experience that that is how Mr. Barasky
12   informant says to me, you know, I can buy off of this             12   operated at the time.
13   person, I won't tell them that I know that person.                13         Q     Now, is there, say, staleness to the
14   I'll just say, all right, well, tell me about it.                 14   information you got? So -- let me strike the whole
15   How's it go down. Well, he always does this. This is              15   question.
16   how it goes down.                                                 16               So if -- if a person tells you I bought from,
17         Q      Um-hum.                                              17   you know, person X, and you know person X was charged
18         A      Sometimes they give me the phone number that         18   with a drug crime four years ago, does the length of
19   they've been buying from, and I just remember the                 19   time since they were charged or convicted of that
20   phone number and I go, yep, I bought drugs off that               20   crime to when they're being accused of selling drugs
21   number probably 50 times.                                         21   now matter?
22         Q      Okay.                                                22         A     It can. It could, if there's a substantial
23         A      So I take all those things into                      23   amount of time in between there. Again, I think
24   consideration. Now, if they tell me several of those              24   you -- I would again submit that you have to reply on
25   sort of key things that are part of the MO -- and it              25   the -- the information and the experience of the

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1    might just be as simple as he always keeps it in the              1    officer, because -- and again from my own experience,
2    air vent over on the passenger's seat, or he always               2    I have arrested several drug dealers sort of over the
3    keeps it in this door pocket or something like that.              3    span of their youth. I've arrested them as juveniles.
4    Once they hit a couple of those key things and they               4    I've arrested them as adults and again as parents.
5    tell me, I lend credibility to that because those are             5          Q     Um-hum.
6    things that are not just general drug dealing                     6          A     So -- and their MO remained the same or, you
7    information.                                                      7    know, the drug that they sold kind of remained the
8          Q      Okay.                                                8    same. So it's sort of -- there's sort of two answers
9          A      Might even be specific to how they package it        9    to that. I guess it just -- it would depend.
10   or a stamp. So there's a lot.                                     10         Q     So you'd agree, like the older it is, the
11         Q      Okay.                                                11   less useful it is and the more other factors you need
12         A      But that was typically -- that would be              12   to kind of bring it all together?
13   typically for me. And I apologize if I'm talking                  13         A     I would agree with that.
14   really fast. Tell me to slow down.                                14         Q     Okay. So I know we talked previously. The
15                For me, those are -- those are what I would          15   NEU has certain regulations you're supposed to follow
16   take into consideration on information received.                  16   as far as informants go, right?
17         Q      You agree there's no hard set rules that you         17         A     Yes.
18   have to follow to do that?                                        18               (Whereupon, a document was produced and
19         A      No.                                                  19   marked as Plaintiff's Exhibit No. 2 for
20         Q      Okay. But when you've never used an                  20   identification.)
21   informant before, you are supposed to corroborate what            21   BY MR. GRYSKEWICZ:
22   they're saying to you, correct?                                   22         Q     I'm going to hand you -- take a look at that.
23         A      If you can. And sometimes -- sometimes that          23   Take your time, let me know when you're done.
24   information is simply corroborated by prior knowledge.            24               MS. LAUGHLIN: Are you asking him to read
25         Q      Um-hum.                                              25   through the whole thing?


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1    BY MR. GRYSKEWICZ:                                               1            Q   Yeah. Let me rephrase it. So if you arrest
2          Q     No. Review it, let me know like if you agree         2    somebody for selling drugs --
3    that is the Attachment H as part of the NEU                      3            A   Okay.
4    regulations for informants and sources of information.           4            Q   -- and they ask to cooperate with you, you
5          A     It looks -- yes.                                     5    don't want to just know who they buy their drugs from,
6          Q     Okay. Now, obviously the copy you would have         6    a lot of times you want to know who they also sell
7    with the NEU would not have the redactions in it?                7    their drugs to?
8          A     Correct.                                             8            A   Not necessarily. The idea is to go up in the
9          Q     And would you agree, except for those                9    distribution chain. It really doesn't have a lot of
10   redactions, this would be a true and accurate copy of            10   investigatory value for me to go to that person and
11   the Attachment H, the informants and sources of                  11   ask them about who they sold their drugs to. I would
12   information you're governed by as an NEU officer?                12   want to know where they get their drugs. So the idea
13         A     To my recollection, yes.                             13   is to climb the chain of distribution.
14         Q     Okay. The policies and procedures in that            14           Q   Now, if you had a situation where one
15   document require you to document your findings in a              15   confidential informant tells you, this person told me
16   written report, right?                                           16   they bought drugs from Philadelphia a couple days ago,
17         A     Yes. You're going to prepare a buy report or         17   and then you arrest that person the informant told you
18   an arrest report or -- et cetera.                                18   about, and they tell you, no, I bought my drugs from
19         Q     So that would mean you're going to detail the        19   Williamsport, wouldn't you ask that person about
20   information you learned from the informant in a                  20   the information the previous CI gave you about
21   written report for, you know, an investigation down              21   purchasing drugs from Philadelphia?
22   the road or whatever means?                                      22           A   Not necessarily. Because sometimes the
23         A     Correct. Yes.                                        23   information that's provided to informants or chatter
24         Q     The policies and regulations also instruct           24   that they have maybe with a drug dealer is not
25   that you're supposed to conduct a broad line of                  25   accurate. Obviously, they will -- they will remove

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1    inquiry to extract all information from the criminals            1    themselves. So as a drug trafficker, I might tell
2    and criminal activity known to the prospective                   2    somebody, I got this off the kilo. It's like as fresh
3    informants. Would you agree with that?                           3    as it comes, when really what I did is I took it and I
4          A     Yes.                                                 4    repacked it with a packing device to make it look like
5          Q     And what's the purpose of doing a broad line         5    it's off of a kilo, and then I charge you more. It's
6    of inquiry with an informant?                                    6    a way to rip people off.
7          A     It allows you -- offers several different --         7            Q   Yeah.
8    different things. One of them is -- goes back to the             8            A   That's how you become a drug dealer.
9    discussion that we just had about reliability, that              9            Q   Drug dealers lie.
10   offers information on targets, and it allows the case            10           A   Right. They're not honest. So it's not --
11   officer to evaluate essentially how -- the value of              11   that's not out of the realm of possibility where the
12   that informant's capability as a CI. So some                     12   information that the informant specific to where they
13   informants might be able to, hey, I buy from one guy             13   get the drugs might not always be entirely accurate.
14   all the time. That's all I can do.                               14           Q   Okay. But wouldn't you want to challenge
15         Q     Um-hum.                                              15   that informant to make sure the information he's
16         A     And then you talk to another informant and           16   telling you about where he's buying his drugs from is
17   they're like, I have ten that I buy from and here they           17   correct?
18   are and the list. So that offers -- the question you             18           A   I might -- I might ask them and push a little
19   just asked kind of goes to that.                                 19   bit. I might say -- you know, I might tell the
20         Q     Okay. Now, you would agree, then, when               20   informant, hey, next time your -- the opportunity
21   somebody's arrested for selling drugs and they're                21   arises, you know, see if you can find out more about
22   offering to be an informant, you don't want to just              22   this.
23   know who might be above them, but also who they're               23           Q   Um-hum.
24   selling drugs to themselves?                                     24           A   But you have to be cautious not to put the
25         A     I'm not sure I understand your question.             25   informant into danger by saying, hey, I want you to


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1    ask him who their source is, because any drug dealer             1    jeopardizing your judicial consideration with the DA's
2    is going to be like, well, why are you asking me that?           2    office and you're jeopardizing your status as an
3    Some of that is more on me as the officer to just go             3    informant by committing additional criminal acts, so
4    do some surveillance and kind of build that on the               4    you've got to keep out of trouble.
5    side. So you have to weigh it -- again, you have to              5          Q      Let's say you -- you arrest somebody for
6    weigh the risk of that with the -- you know, you still           6    selling drugs, they want to be an informant. You go
7    have to keep the informant safe.                                 7    over the informant conditions with them, and then
8          Q     You would agree, then, whatever information          8    seven days later you're going to make the bust on the
9    you obtained from that informant, interviewing them              9    person they gave you information on. If during that
10   with the broad line of inquiry would then be                     10   seven day span you find out they had communication
11   documented in a written report?                                  11   with the person you're going to arrest, would that
12         A     Oftentimes it's documented on a -- like an           12   make you concerned about the informant's reliability
13   informant sheet. They can -- they can buy from, you              13   or what's going on happen?
14   know, so and so or this many targets. Sometimes if               14         A      Not necessarily. And I say that because in
15   there's -- if it's rushed or if things are sort of               15   the realm of drug use and drug dealers, you have to
16   happening fast, you might only have time to tell                 16   understand, a drug user is going to talk to that drug
17   people, they said they can buy from, you know, one,              17   dealer every single day.
18   two and three. So that's -- that does get deviated               18         Q      Um-hum.
19   from at times. But, yeah, frequently and more often              19         A      If you're a coffee drinker and you need
20   than not it's document.                                          20   coffee every morning or you're going to get a
21         Q     Okay. And part of the NEU regulations also           21   headache, and you have to go to somebody to buy it,
22   provide that you to have to tell prospective                     22   you're going to talk to them every day. It's just
23   informants during their initial interview a number of            23   part of your routine. It's that way for drug user --
24   conditions that govern their conduct.                            24   excuse me.
25         A     Yes.                                                 25                So -- and really it jeopardizes the

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1          Q     So one of those conditions would be that they        1    reliability -- or I'm sorry, the informant's safety
2    have to sign the informant condition statement?                  2    and reliability with the drug dealer. They have to
3          A     Correct.                                             3    maintain their reliability with them as much as they
4          Q     Okay. And that informant condition statement         4    do with the police to a degree. So if I arrest this
5    would inform them they're not allowed to engage in any           5    drug user for dealing with this drug dealer, and I
6    criminal activity outside of police supervision?                 6    say, how often do you talk to so and so, and they say
7          A     Yes.                                                 7    every day.
8          Q     And if an informant violated that condition,         8                 And then I tell them, all right, you know,
9    would that make you concerned as to their reliability?           9    you're an informant now, you can't talk to them until
10         A     A little bit. I would -- it would be                 10   I say so, and then they stop talking to that dealer
11   untruthful to say, no, not at all. But we have to                11   for two weeks, and then I say, all right, let's do a
12   understand, too, as police officers in the role that             12   buy, the first thing that that drug dealer is going to
13   the informant plays, that there's a reason they're an            13   do when they text them is they're going to go, where
14   informant, and they are -- they are oftentimes a drug            14   you been. Why haven't you been reaching out to me.
15   user or commit criminal acts. So we have to weight               15                That immediately jeopardizes their safety.
16   that against the reality of it.                                  16   It immediately jeopardizes the investigation. So
17         Q     Are you supposed to take any certain actions         17   there's a -- there's sort of a balance that you need
18   as an NEU member if an informant violates those                  18   to find, and it can be hard sometimes, allowing them
19   conditions that they sign?                                       19   to continue their contact with the dealer and talk to
20         A     They will oftentimes reinforce -- depending          20   them.
21   on what they did. Obviously if the informant goes out            21         Q      Um-hum.
22   and commits an armed robbery, we're not continuing to            22         A      But you'll touch base with them, hey, did you
23   use them, or if they -- you know, some violent crime             23   hear from him today. What did he say. He said he's
24   or something of that effect. But, yes, if they --                24   on his way back from Philly with a kilo or, you know,
25   if -- you'll counsel them and say, hey, listen, you're           25   an ounce. So -- does that answer your question?


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1             Q    Yeah. So I think what you would expect of an         1    that mean to you?
2    informant, then, is to keep you informed if they're                2           A   That would indicate to me, I have your money,
3    talking to that person?                                            3    plus some additional for a purchase of drugs.
4             A    Correct. And they're not always -- they're           4           Q   Would you also agree that if you saw like in
5    not always going to call me and say, hey, guess what,              5    a text message somebody texting somebody else, like
6    he said this.                                                      6    H-M-U, hit me up, I got you, what would that mean to
7             Q    Yeah.                                                7    you?
8             A    A lot of times I had to call my CI's.                8           A   That would -- depending on which direction
9             Q    Um-hum.                                              9    it's going. If it's a drug dealer sending that to a
10            A    Hey, did you hear from him today? Yeah.              10   drug user, they're saying -- when I say I got you,
11   What did he say? Oh, he said this. And again, I have               11   that means I've got drugs, I can sell you some. Let
12   to recognize I'm dealing with somebody that's got a --             12   me know.
13   sometimes a severe trauma or substance abuse issues                13          Q   And, yeah, so that's the normal connotation
14   before I had interaction with them, so that's --                   14   of it. It's I have drugs. You know, hit me up, I got
15   that's not unlikely.                                               15   your supply?
16            Q    And before you actually set somebody up using        16          A   Correct.
17   an informant, would you always want to see the                     17          Q   In 2020 was your income as a police officer
18   informant's phone and the communications between them?             18   your only source of income?
19            A    Yes. Frequently I would look at their -- we          19          A   Yes.
20   would go through the phone together. I would -- you                20          Q   What was your annual pay as a police officer
21   know, a lot of times with the informant you'll go                  21   in 2020?
22   right down through and you'll say, who's so and so,                22          A   I'd have to estimate. I think somewhere
23   because they're all -- you know, a lot of times                    23   around maybe 70,000, 65,000 a year.
24   they're street names or they're --                                 24              MR. GRYSKEWICZ: That's all the questions I
25            Q    Um-hum.                                              25   have. Thank you for your cooperation, Detective Bell.

                                                                   70                                                                   72
1             A    You know, they might be listed by a car or           1               THE WITNESS: Sure. Yep.
2    just a letter and you'll say who's this, who's this,               2               MR. KOZLOWSKI: I don't have any questions.
3    who's this.                                                        3               MR. WHITE: I don't have any question.
4             Q    Um-hum.                                              4               MS. LAUGHLIN: No questions.
5             A    So on and so forth. So, yeah, that would be          5               THE WITNESS: Okay.
6    common to go through their phone with them.                        6               (Whereupon, the deposition was concluded at
7             Q    Okay. In this case, did you see ever at any          7    12:57 p.m.)
8    point the text message between what's alleged to be                8

9    Barasky and Sumpter?                                               9

10            A    I don't believe I did. Maybe when                    10

11   entering -- scanning the report in and attaching it,               11

12   but --                                                             12

13            Q    But not in depth to make an analysis?                13

14            A    Not in a -- just in a review. No.                    14

15            Q    As far as drug lingo goes in text messages,          15

16   is it standard or is it based on individual people a               16

17   lot of times?                                                      17

18            A    Both.                                                18

19            Q    Okay.                                                19

20            A    There are some -- there's some lingo that's          20

21   standard to certain people, and there's some that is               21

22   general language across the board and kind of accepted             22

23   slang. So it's a little bit of both.                               23

24            Q    Okay. If you saw somebody write in a text            24

25   message, I got your bread plus money three, what would             25



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1    COUNTY OF UNION                       :
2    COMMONWEALTH OF PENNSYLVANIA
                              :
3

4               I, Ervin S. Blank, the undersigned Notary
5    Public, do hereby certify that personally appeared
6    before me, JOSHUA K. BELL; the witness, being by me
7    first duly sworn to testify the truth, the whole truth
8    and nothing but the truth, in answer to the oral
9    questions propounded to him by the attorneys for the
10   respective parties, testified as set forth in the
11   foregoing deposition.
12              I further certify that before the taking of
13   said deposition, the above witness was duly sworn,
14   that the questions and answers were taken down
15   stenographically by the said Ervin S. Blank, Court
16   Reporter, Lewisburg, Pennsylvania, approved and agreed
17   to, and afterwards reduced to typewriting under the
18   direction of the said Reporter.
19              In testimony whereof, I have hereunto
20   subscribed my hand this 27th day of March, 2024.
21

22

23                                      __________________________
                                        Ervin S. Blank
24                                      Reporter-Notary Public
                                        My Commission Expires
25                                      January 28, 2025




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